        CASE 0:06-cr-00148-PJS-RLE              Doc. 154       Filed 08/24/06   Page 1 of 29




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

    *     *   *   *   *    *     *   *      *    *   *     *    *   *   *   *   *   *   *      *

United States of America,

                               Plaintiff,

        vs.                                          REPORT AND RECOMMENDATION


Seth Tylibe Nururdin,

                               Defendant.                  Crim. No. 06-148(06)(JMR/RLE)

    *     *   *   *   *    *     *   *      *    *   *     *    *   *   *   *   *   *   *      *



                                            I. Introduction

        This matter came before the undersigned United States Magistrate Judge

pursuant to a general assignment, made in accordance with the provisions of Title 28

U.S.C. §636(b)(1)(B), upon the following Motions of the Defendant Seth Tylibe

Nururdin (“Nururdin”):

              1.    Nururdin’s Motion to Suppress Evidence Obtained
              from Search and Seizure.

              2.     Nururdin’s          Motion      to    Suppress      Eyewitness
              Identification.
     CASE 0:06-cr-00148-PJS-RLE         Doc. 154    Filed 08/24/06    Page 2 of 29




A Hearing on the Motions was conducted on July 17, 2006, at which time, Nururdin

appeared personally, and by Paul D. Schneck, Esq.; and the Government appeared by

Joseph T. Dixon III, Assistant United States Attorney.1

      For reasons which follow, we recommend that Nururdin’s Motions be denied.

                                II. Factual Background

      Nururdin has been charged, in a Superseding Indictment, with one Count of

conspiring to distribute approximately five hundred (500) grams or more of a mixture

of substance containing a detectable amount of cocaine base, in violation of Title 21

U.S.C. §§841(a)(1), (b)(1)(A), and 846. The events which give rise to that charge are

alleged to have taken place during the time period from September of 2005, through

May of 2006. As pertinent to the charges, and to the Motions now before us, the

operative facts may be briefly summarized.2

      1
         At the close of the Hearing, the parties requested leave to submit post-Hearing
memoranda on the legal issues raised by the Defendants’ Motions. Leave was
granted, and the last brief on the issues was received on July 28, 2006, at which time,
the Motions were taken under advisement. See, Title 18 U.S.C. §3161(h)(1)(F) and
(J); Henderson v. United States, 476 U.S. 321, 330-32 (1986); United States v.
Blankenship, 67 F.3d 673, 767-77 (8th Cir. 1995).
       2
         Rule 12(d), Federal Rules of Criminal Procedure, provides that “[w]hen factual
issues are involved in deciding a motion, the court must state its essential findings on
the record.” As augmented by our recitation of factual findings in our “Discussion,”
the essential factual findings, that are required by the Recommendations we make, are
contained in this segment of our Opinion. Of course, these factual findings are
                                                                           (continued...)

                                          -2-
      CASE 0:06-cr-00148-PJS-RLE         Doc. 154   Filed 08/24/06   Page 3 of 29




      At the Suppression Hearing, Rodney Wilson (“Wilson”), who is an investigator

with the Duluth Police Department, and the Lake Superior Drug and Gang Task Force,

and Nick Lukovsky (“Lukovsky”), who is an investigator with the Duluth Police

Department, and who is assigned to the Lake Superior Drug and Gang Task Force,

testified at the instance of the Government. 3

      Lukovsky testified that Nururdin had been the subject of an ongoing narcotics

investigation, and that Lukovsky had arranged, and personally observed, two (2)

controlled purchases of crack cocaine from Nururdin by Confidential Informants

(“CIs”). The first controlled purchase occurred on March 10, 2006, at which time,

Lukovsky observed the CI enter a vehicle with Nururdin, and emerge afterwards with


      2
        (...continued)
preliminary in nature, are confined solely to the Motions before the Court, and are
subject to such future modification as the subsequent development of the facts and law
may require. See, United States v. Moore, 936 F.2d 287, 288-89 (6 t h Cir. 1991);
United States v. Prieto-Villa, 910 F.2d 601, 610 (9th Cir. 1990).


      3
       At the Hearing, the Court also heard testimony from Matthew McShane
(“McShane”), who is an officer with the Duluth Police Department, and Ann Clancey
(“Clancey”), who is an investigator with the Duluth Police Department, in connection
with the suppression Motions of Nururdin’s co-Defendant, Derrick Lamont Brown
(“Brown”), who also testified at the Hearing. Brown has subsequently withdrawn his
suppression Motions, see Docket No. 148, and, as the testimony of McShane,
Clancey, and Brown, are not relevant to Nururdin’s Motions, we do not recount their
testimony here.

                                           -3-
     CASE 0:06-cr-00148-PJS-RLE       Doc. 154    Filed 08/24/06   Page 4 of 29




narcotics. The transaction was recorded on videotape, and an audio recorder, with the

consent of the CI.     Lukovsky testified that a second controlled purchase was

conducted with the same CI on March 13, 2006.         In both instances, the actual

exchange of narcotics, and money, was not observed by law enforcement.

      Immediately after each of the controlled purchases, Lukovsky showed a black

and white photograph of Nururdin -- which law enforcement had acquired either from

previous arrest photos, or from the Department of Motor Vehicles -- to the CI. Wilson

testified that the photograph that was employed in the investigation was provided by

Ann Clancey (“Clancey”), who is an officer with the Duluth Police Department, and

who is assigned to the Lake Superior Drug and Gang Task Force, and that she had

obtained the photo as part of the investigation. Lukovsky asked the CI if the person

depicted in the photograph was the same person who had participated in the controlled

purchase. The only photograph shown to the CI was of Nururdin. The informant

stated that the person depicted in the photograph provided the narcotics in the

controlled sale, and the informant identified the person by his nicknames of “P,” and

“Cheeseburger.” The photograph has not been provided to the Court.

      On May 11, 2006, a third controlled purchase of narcotics was arranged by law

enforcement through a CI.     After the transaction was completed, Lukovsky and


                                        -4-
      CASE 0:06-cr-00148-PJS-RLE       Doc. 154    Filed 08/24/06    Page 5 of 29




several other officers approached Nururdin in order to arrest him. Nururdin attempted

to flee on foot, and was pursued by the officers. Lukovsky testified that other officers

observed the Defendant discard various items, while he was pursued by law

enforcement, which later proved to be a cell phone, as well as the pre-marked currency

that had been used in the controlled buy. Lukovsky stated that he saw officers retrieve

the money from the ground, and saw the cell phone in the officers’ possession.

Nururdin was eventually tackled and arrested by law enforcement. The photograph

of Nururdin was shown to the informant immediately following Nururdin’s arrest, and

the informant positively identified the Defendant as the person who had sold her the

narcotics.

       After Nururdin’s arrest, Lukovsky drafted an Application for a Warrant, and a

Supporting Affidavit for a search of Nururdin’s person, as well as a residence in

Duluth, Minnesota. See, Government Exh. 1. He substantially based his Application

on information observed at the controlled purchases, as well as information provided

by the CIs. He testified that he brought the documents to a Minnesota District Judge,

and witnessed the Judge sign the Search Warrant in his presence. Lukovsky testified

that he believed that he had probable cause, and proper authority, to search the




                                         -5-
        CASE 0:06-cr-00148-PJS-RLE       Doc. 154       Filed 08/24/06   Page 6 of 29




premises identified in the Warrant.     The Search Warrant was executed on May 11,

2006.

                                      III. Discussion

A.      Nururdin’s Motion to Suppress Evidence Obtained From Search and Seizure

        Nururdin argues that his arrest lacked probable cause, and accordingly, that the

items he allegedly discarded, while being pursued by law enforcement, should be

suppressed. He additionally contends that the information, which was contained in

the Search Warrant Affidavit, did not support a fair probability that incriminating

evidence would be found at the residence which was subsequently searched. We

disagree with both contentions, and address each, in turn.

        1.    Evidence Obtained During Nururdin’s Arrest.           “Determining probable

cause to arrest requires the court to focus on the moment the arrest was made and to

ask whether ‘the facts and circumstances within [the officers’] knowledge and of

which they had reasonably trustworthy information were sufficient to warrant a

prudent man in believing that the [suspect] had committed or was committing an

offense.’” United States v. Taylor, 106 F.3d 801, 803 (8th Cir. 1997), quoting Beck

v. Ohio, 379 U.S. 89, 91 (1964); see also, Kiser v. Huron, 219 F.3d 814, 816 (8th Cir.

2000)(“Furthermore, ‘[a]n officer has probable cause to make a warrantless arrest


                                           -6-
     CASE 0:06-cr-00148-PJS-RLE         Doc. 154    Filed 08/24/06    Page 7 of 29




when facts known to the officer are sufficient to make a reasonably prudent officer

believe that the suspect is committing or has committed an offense.’”), quoting

Olinger v. Larson, 134 F.3d 1362, 1366 (8th Cir. 1998); Tokar v. Bowersox, 198 F.3d

1039, 1046-47 (8th Cir. 1999)(“The existence of probable cause in fact to make a

warrantless arrest depends upon whether, at the moment the arrest was made, the facts

and circumstances within the arresting officers’ knowledge, and of which they had

reasonably trustworthy information, were sufficient to warrant a prudent person to

believe that the suspect had committed or was committing an offense.”).

      We recognize, and accept, that an officer engaged in an arrest need not

personally have found probable cause in order to lawfully effect the arrest. As the

Court explained, in United States v. Gillette, 245 F.3d 1032, 1034 (8th Cir. 2001), cert.

denied, 534 U.S. 982 (2001):

             Where officers work together on an investigation, we have
             used the so-called “collective knowledge” theory, United
             States v. Gonzales, 220 F.3d 922, 925 (8th Cir. 2000), to
             impute the knowledge of one officer to other officers to
             uphold an otherwise invalid search or seizure. Under this
             rationale, the validity of a search “may be based on the
             collective knowledge of all of the law enforcement officers
             involved in an investigation if * * * some degree of
             communication exists between them,” id. See also United
             States v. Morales, 238 F.3d 952, 953 (8 t h Cir. 2001), and
             United States v. Twiss, 127 F.3d 771, 774 (8th Cir. 1997).
             The requirement that there be a degree of communication

                                          -7-
      CASE 0:06-cr-00148-PJS-RLE         Doc. 154      Filed 08/24/06   Page 8 of 29




              serves to distinguish between officers functioning as a
              “search team,” United States v. O’Connell, 841 F.2d 1408,
              1419 (8th Cir. 1988), cert. denied, 487 U.S. 1210, 108 S.Ct.
              2857, 101 L.Ed.2d 893 (1988), 488 U.S. 1011, 109 S.Ct.
              799, 102 L.Ed.2d 790 (1989), and officers acting as
              independent actors who merely happen to be investigating
              the same subject.

“‘The determination of whether probable cause exists must not rest on isolated facts;

rather it depends on the cumulative effect of the facts in the totality of

circumstances.’”    Tokar v. Bowersox, supra at 1047, quoting United States v.

Everroad, 704 F.2d 403, 406 (8th Cir. 1983).           We keep in mind, however, that

“[p]robable cause does not require a prima facie showing of criminal activity, but only

the probability of criminal activity.” Id.

       Here, we note that Lukovsky, as well as other law enforcement officers,

undertook a series of controlled purchases from Nururdin, which were personally and

electronically monitored. Nururdin argues that, because law enforcement did not

observe the actual hand-off of narcotics to the informant on each occasion, probable

cause was lacking to support his warrantless arrest.

       We find the circumstances here to be similar to those in United States v. Rivera,

370 F.3d 730, 733 (8th Cir. 2004). In Rivera, the defendant challenged the existence

of probable cause for his warrantless arrest. There, the defendant was observed


                                             -8-
      CASE 0:06-cr-00148-PJS-RLE       Doc. 154    Filed 08/24/06   Page 9 of 29




driving a vehicle previously used in two (2) controlled narcotics purchases, and made

a third controlled purchase from an undercover police officer.        After the final

transaction, law enforcement converged on the defendant, in order to place him under

arrest. Upon observing the oncoming officers, the defendant “suspiciously departed

from his location, heading away from the police.” Id.

      Our Court of Appeals noted that:

             Based upon these facts, a reasonably prudent person could
             conclude that [the defendant] was a participant in the
             methamphetamine sale. His actions and behavior, although
             perhaps seemingly innocuous to the general public, were
             reasonably suspicious to officers trained to recognize
             behaviors consistent with those of a lookout for a drug deal.
             As such, we find there was probable cause for [the
             defendant’s] arrest.
Id.

Here, law enforcement repeatedly observed Nururdin meet with the informants, in

order to conduct controlled purchases of narcotics. The informants returned with a

quantity of crack cocaine after the meetings and, on each occasion, the informant

identified Nururdin as the source of the narcotics. Upon the completion of the third

controlled purchase, and after observing the presence of police officers, Nururdin

abruptly attempted to flee the scene, but his attempt was thwarted by the arresting




                                         -9-
     CASE 0:06-cr-00148-PJS-RLE        Doc. 154    Filed 08/24/06    Page 10 of 29




officers.   On these facts alone, we find probable cause to support Nururdin’s

warrantless arrest.

       Furthermore, we recognize that, in arresting Nururdin, law enforcement relied

upon information obtained from interviews with informants.        When reliance on an

informant occurs, “‘a key issue is whether that information is reliable.’” United States

v. Koons, 300 F.3d 985, 993 (8th Cir. 2002), quoting United States v. Fulgham, 143

F.3d 399, 401 (8th Cir. 1998); see also, United States v. Reivich, 793 F.2d 957, 959 (8th

Cir. 1986)(“[T]he informant’s reliability, veracity, and basis of knowledge are relevant

considerations -- but not independent, essential elements -- in finding probable

cause.”). As our Court of Appeals has stated:

             In [Illinois v.] Gates, the Supreme Court explained that an
             informant’s reliability and basis of knowledge “are better
             understood as relevant considerations in the totality-of-the-
             circumstances analysis that traditionally has guided
             probable-cause determinations: a deficiency in one may be
             compensated for, in determining the overall reliability of a
             tip, by a strong showing as to the other, or by some other
             indicia of reliability.” * * * 462 U.S. at 233, 103 S.Ct. at
             2329.
United States v. Olson, 21 F.3d 847, 850 (8th Cir. 1995).

As a result, “‘an informant’s basis of knowledge [is] an important consideration, but

not a rigid requirement, in the probable cause determination.’” Id., citing United

States v. Anderson, 933 F.2d 612, 615 (8th Cir. 1991).

                                         - 10 -
     CASE 0:06-cr-00148-PJS-RLE         Doc. 154    Filed 08/24/06    Page 11 of 29




      As a consequence, the “core question” is whether the information, which was

provided by the informant, was reliable. See, United States v. Williams, 10 F.3d 590,

593 (8th Cir. 1993)(“The core question in assessing probable cause based upon

information supplied by an informant is whether the information is reliable.”).

Moreover, “[t]he statements of a reliable confidential informant are themselves

sufficient to support probable cause.” United States v. Wright, 145 F.3d 972, 975 (8th

Cir. 1998), cert. denied, 525 U.S. 919 (1998). In turn, an informant is deemed reliable

when his statements are corroborated by independent evidence. See, United States v.

Carpenter, 341 F.3d 666, 669 (8th Cir. 2003) (“[C]orroboration of minor, innocent

details may support finding of probable cause.”), citing United States v. Tyler, 238

F.3d 1036, 1039 (8th Cir. 2001); see also, United States v. Koons, supra at 993

(“‘Information may be sufficiently reliable to support a probable cause finding if the

person providing the information has a track record of supplying reliable information,

or if it is corroborated by independent evidence.’”), quoting United States v. Fulgham,

supra at 401; United States v. Formaro, 152 F.3d 768, 770 (8 t h Cir. 1998)

(“[C]orroboration of the confidential informant’s information by independent

investigation is an important factor in the calculus of probable cause.”).




                                          - 11 -
     CASE 0:06-cr-00148-PJS-RLE         Doc. 154   Filed 08/24/06    Page 12 of 29




      Here, we have no difficulty in concluding that the confidential informants were

reliable, as their reliability was demonstrated by past track records, by the independent

observations of the officers during the controlled buys, and by corroboration of the

information provided by those informants -- as supplemented by the personal

observations of Lukovsky. See, United States v. Rivera, 410 F.3d 998, 1002 (8th Cir.

2005)(informant’s credibility was established where his representations were

corroborated by officer surveillance and the recovery of narcotics from the informant

following a controlled drug transaction). Accordingly, we find that law enforcement

had probable cause to arrest Nururdin, and we recommend that any items, which he

may have discarded while being pursued by law enforcement, should not be

suppressed at Trial.

      2.     Evidence Obtained Pursuant to a Search Warrant. Nururdin’s Motion

also seeks a close review of the Warrant issued for a search of his residence, based

upon the four corners of that Warrant and its supporting papers.

             a.        The Search Warrant, Supporting Affidavit, and Receipt. On May

11, 2006, a Search Warrant was executed at Nururdin’s residence, in Duluth,




                                         - 12 -
     CASE 0:06-cr-00148-PJS-RLE         Doc. 154    Filed 08/24/06    Page 13 of 29




Minnesota. The Warrant was issued by a Minnesota State Court, 4 and it authorized

a search for controlled substances; paraphernalia for packaging, weighing, and

distributing controlled substances; papers relating to the storage, transportation,

ordering, purchase, and distribution of controlled substances; papers and other items

reflecting names, addresses, and telephone numbers; video and audio tapes of alleged

co-conspirators, assets, and controlled substances; documents evidencing the

concealment and expenditures of funds; currency; indicia of occupancy, residency, or

payment of utilities and rent; photographs; and permission to monitor and tape record

all incoming phone calls during the execution of the Warrant at the Defendant’s

residence.

      In support of the Search Warrant, Lukovsky submitted an Affidavit in which

he averred that he believed that information supplied to him by other members of the

Lake Superior Drug and Gang Task Force, from police reports and information

supplied by other law enforcement officers, to be reliable, and that from past


      4
         At the time of the Hearing, there was some confusion as to which State District
Court Judge had issued the Warrant in question. The Warrant, and its related papers,
disclosed a signature which was difficult to discern. Lukovsky testified to his belief
that the Warrant was issued by Judge Mark Munger but, subsequently, the
Government advised that Judge James D. Gibbs, a retired State Court Judge, who was
utilizing Judge Munger’s Chambers, had actually signed the Warrant. As Nururdin
has not further addressed the identity of the issuing State District Judge, neither do we.

                                         - 13 -
     CASE 0:06-cr-00148-PJS-RLE        Doc. 154    Filed 08/24/06   Page 14 of 29




experience, Lukovsky learned that persons involved in drug trafficking often kept

detailed writings concerning their activities. He further averred that purchasers of

narcotics would often come to the residence of drug traffickers, based on telephone

conversations with officers engaged in the search, during the execution of the Search

Warrant.

      Lukovsky noted that a CI informed him that Nururdin stays in the area of the

residence described in the Search Warrant, and that the CI believed that Nururdin

stored crack cocaine and currency proceeds, which resulted from the drug sales, at that

residence.5   Lukovsky averred that Wilson interviewed “a known person whishing

[sic] to remain anonymous” who stated that Nururdin resides near the residence

described in the Warrant, and that Nururdin used that residence as a “stash house,”

and that “large amounts of U.S. currency and crack cocaine” had been observed there.

Government Exh. 1, at p. 3.

      A second CI informed Lukovsky that Nururdin had been observed selling crack

cocaine on at least three (3) occasions within the last two (2) months, and stays at the

residence described in the Search Warrant. A third CI spoke with Lukovsky and


      5
       At the Hearing, Lukovsky testified that the residence described in the Search
Warrant, and supporting papers, was occupied by the Defendant’s girlfriend, and that
the Defendant would often reside there as well.

                                         - 14 -
     CASE 0:06-cr-00148-PJS-RLE        Doc. 154    Filed 08/24/06    Page 15 of 29




stated that Nururdin had conducted at least ten (10) sales of crack cocaine from the

residence described in the Search Warrant, and at least twenty (20) sales in other

locations in the Duluth area.

       All three of the CIs had provided reliable information in the past that had been

corroborated through independent law enforcement investigations, a check of police

records, information obtained from other CIs, as well as Lukovsky’s personal

knowledge. The CIs had conducted numerous narcotics purchases, and were involved

in several narcotic investigations.

       Lukovsky also recounted the events leading to Nururdin’s arrest on May 11,

2006, and noted that law enforcement observed Nururdin leave that residence, and

proceed to the controlled purchase of crack cocaine, where he was found in possession

of $200.00 of pre-recorded buy money.

       The Receipt associated with the Search Warrant, which is dated May 11, 2006,

notes that a number of materials were seized from Nururdin’s residence.              The

materials primarily consisted of material suspected to be crack cocaine, a digital scale,

two (2) prescription bottles, miscellaneous documents and receipts, two “phone

charges,” and a cell phone. Receipt, Government Exh. 1.

              b.     Probable Cause.


                                         - 15 -
     CASE 0:06-cr-00148-PJS-RLE       Doc. 154    Filed 08/24/06   Page 16 of 29




                    1)    Standard of Review. In the issuance of a Search Warrant,

the Fourth Amendment dictates that an impartial, neutral, and detached Judicial

Officer, will assess the underlying factual circumstances so as to ascertain whether

probable cause exists to conduct a search, or to seize incriminating evidence, the

instrumentalities or fruits of a crime, or contraband. Warden v. Hayden, 387 U.S. 294

(1967); United States v. Johnson, 64 F.3d 1120, 1126 (8th Cir. 1995), cert. denied, 516

U.S. 1139 (1996). In order to find probable cause, it must be demonstrated that, in

light of all the circumstances set forth in the supporting Affidavit, there is a fair

probability that contraband, or evidence of a crime, will be found in a particular,

designated place. United States v. Gladney, 48 F.3d 309, 313 (8th Cir. 1995); United

States v. Tagbering, 985 F.2d 946, 949 (8th Cir. 1993). For these purposes, probable

cause is “a fluid concept, turning on the assessment of probabilities in particular

factual contexts, not readily, or even usefully, reduced to a neat set of legal rules.”

Illinois v. Gates, 462 U.S. 213, 232 (1983); see also, Ornelas v. United States, supra

at 695.

      “Search warrant ‘[a]pplications and affidavits should be read with common

sense and not in a grudging hyper technical fashion.’” United States v. Ryan, 293

F.3d 1059, 1061 (8th Cir. 2002), quoting United States v. Goodman, 165 F.3d 610, 613


                                        - 16 -
     CASE 0:06-cr-00148-PJS-RLE        Doc. 154    Filed 08/24/06   Page 17 of 29




(8th Cir. 1999), cert. denied, 527 U.S. 1030 (1999).          In conducting such an

examination, the Court should review the Affidavits as a whole, and not on a

paragraph-by-paragraph basis. United States v. Anderson, 933 F.2d 612, 614 (8th Cir.

1991); Technical Ordnance, Inc. v. United States, 244 F.3d 641, 649 (8th Cir. 2001),

cert. denied, 534 U.S. 1084 (2002). Moreover, the reviewing Court must not engage

in a de novo review but, rather, should accord great deference to the decision of the

Judicial Officer who issued the Warrant. United States v. Maxim, 55 F.3d 394, 397

(8th Cir. 1995), cert. denied, 516 U.S. 903 (1995); United States v. Curry, 911 F.2d 72,

75 (8th Cir. 1990), cert. denied, 498 U.S. 1094 (1991). This mandated deference to the

determination of the issuing Judicial Officer is consistent with the Fourth

Amendment’s sound preference for searches that are conducted pursuant to Warrants.

Illinois v. Gates, supra at 236.

                     2)     Legal Analysis. On the showings contained in Lukovsky’s

Affidavit, we find adequate probable cause for the issuance of the Search Warrant for

Nururdin’s residence. Some of the information, which is contained in the Affidavit,

was supplied by CIs and, as previously noted, we have no difficulty in concluding that

the CIs were reliable, as their reliability was demonstrated by past track records, by

the independent observations of the officers during the controlled buys, and by


                                         - 17 -
     CASE 0:06-cr-00148-PJS-RLE        Doc. 154    Filed 08/24/06   Page 18 of 29




corroboration of information provided by those informants -- as supplemented by the

personal observations of Lukovsky. See, United States v. Rivera, 410 F.3d at 1002.

Moreover, based upon the information contained in Lukovsky’s Affidavit, at least one

CI has observed ten (10) narcotics transactions occur at that residence. Based on the

foregoing, we find a sufficient nexus between that residence and Nururdin’s alleged

drug trafficking.

       In addition, we do not find the absence of evidence, that any controlled buy

occurred in the residence to be searched, as a proper basis for invalidating that Search

Warrant. As our Court of Appeals observed, in United States v. Hulett, 22 F.3d 779,

780 (8th Cir. 1994), “[f]ew places are more convenient tha[n] one’s residence for use

in planning criminal activity and concealing fruit of a crime.” See also, United States

v. Etheridge, 168 F.3d 495, 1998 WL 792467 at **1 (8th Cir., November 18, 1998)

(“Since it is well known that drug traffickers routine keep packaging equipment,

ledgers, and other incriminating items in their living quarters, the affidavit provided

sufficient reason to believe that [the defendant’s] residence would contain evidence

of criminal activity.”); United States v. Formaro, 152 F.3d 768, 770 n. 2 (8 t h Cir.

1998); United States v. Premises Known as 6040 Wentworth Ave. South Mpls., 1996




                                         - 18 -
     CASE 0:06-cr-00148-PJS-RLE       Doc. 154    Filed 08/24/06    Page 19 of 29




WL 260745 at * 4 (D. Minn. 1996), aff’d, 123 F.3d 685 (8th Cir. 1997); United States

v. Luloff, 15 F.3d 763,768 (8th Cir. 1994).

      Here, Lukovsky’s averments, as contained in the opening paragraphs of his

Affidavit, that drug traffickers keep detailed writings, packaging materials, and

weighing devices, corroborate the nexus between a drug dealer’s residence, and his

illegal drug activities, particularly when coupled with the observations of the

informants that drug transactions occurred at that residence.      As a result, we are

satisfied that the averments of Lukovsky, as coupled with the recognition, in this

Circuit, that persons engaged in drug trafficking routinely maintain evidence of their

criminal activity in their residences, establishes the requisite nexus between the

Defendant’s residence, and the likely presence of illegal drugs, or of other evidence

of illicit drug activity. See United States v. Williams, 737 F.2d 735, 738 (8th Cir.

1984)(a probable cause finding that defendant was in possession of methamphetamine

was sufficient to justify a search suspect’s house and automobile, which the Court

determined “were two logical places to look for methamphetamine”).

      Accordingly, we concur in the determination of the issuing Judicial Officer, that

probable cause was present to believe that evidence related to the distribution of

controlled substances was being concealed within Nururdin’s residence. See, United


                                        - 19 -
     CASE 0:06-cr-00148-PJS-RLE        Doc. 154    Filed 08/24/06    Page 20 of 29




States v. Smith, 266 F.3d 902, 905 (8th Cir. 2001)(finding that an Affidavit which

detailed an officer’s surveillance of controlled drug transactions provided probable

cause to support a Search Warrant).

             c.     Staleness of the Supporting Information.

             “It is axiomatic that probable cause must exist at the time of the search

and not merely at sometime earlier.” United States v. Kennedy, 427 F.3d 1136, 1141

(8th Cir. 2005); see, United States v. Ozar, 50 F.3d 1440, 1446 (8th Cir. 1995).

Therefore, a lapse of time, between the observations of a witness and the issuance of

a Search Warrant, like a delay in executing a Search Warrant, “may make probable

cause fatally stale.” United States v. Maxim, supra at 397 [quotations omitted].

      “There is no bright-line test for determining when information is stale,” and the

passage of time, alone, is “not always the controlling factor,” as other factors, such as

“the nature of the criminal activity involved and the kind of property subject to the

search,” are also relevant to the inquiry. Id., quoting United States v. Koelling, 992

F.2d 817, 822 (8th Cir. 1993); United States v. Rugh, 968 F.2d 750, 754 (8th Cir.

1992); see also, United States v. Kennedy, supra at 1141; United States v. Chrobak,

289 F.3d 1043, 1046 (8th Cir. 2002). As but one example, when the Affidavit alleges

an “ongoing continuous criminal enterprise, the passage of time between the receipt



                                         - 20 -
     CASE 0:06-cr-00148-PJS-RLE       Doc. 154    Filed 08/24/06   Page 21 of 29




of information and the search becomes less critical in assessing probable cause.”

United States v. Rugh, supra at 754. Therefore, in our analysis, we must not “simply

count[] the number of days between the occurrence of the facts supplied and the

issuance of the affidavit,” but must consider any passage of time “in the context of a

specific case and the nature of the crime under investigation.”      United States v.

Maxim, supra at 397, quoting United States v. Koelling, supra at 822. Furthermore,

“‘where recent information corroborates otherwise stale information, probable cause

may be found.’” United States v. Ozar, supra at 1446, quoting United States v.

Macklin, 902 F.2d 1320, 1326 (8th Cir. 1990), cert. denied, 498 U.S. 1031 (1991).

      Here, we find that the information contained in the Search Warrant, regarding

the events of the preceding months which culminated in Nururdin’s arrest, had not

become impermissibly stale by the time the Search Warrant was issued, and executed.

Not only did that information relate to an ongoing narcotics investigation, but it had

been “freshened” with more current information, which had occurred within the

previous week, including the events leading up to, and surrounding, Nururdin’s arrest,

on the same date as the application for, and the issuance of, the Search Warrant. See,

United States v. Ozar, supra at 1446 (“‘[W]here recent information corroborates

otherwise stale information, probable cause may be found.’”), quoting United States



                                        - 21 -
     CASE 0:06-cr-00148-PJS-RLE       Doc. 154   Filed 08/24/06   Page 22 of 29




v. Macklin, supra at 1326; see also, United States v. Morrow, 2004 WL 385278 at *1

(8th Cir., March 2, 2004)(“The seven-day delay did not render stale the information

on which the Warrant was based.”), citing United States v. Gibson, 123 F.3d 1121,

1124-25 (8th Cir. 1997)(four-day delay did not render the Warrant stale where drug

activity was ongoing).6   Accordingly, we find no basis to sustain a substantive

challenge to the Warrant at issue, Nururdin draws no other fatal defects to our

attention, and our independent review has failed to disclose any. Therefore, we

recommend that the Nururdin’s Motion to Suppress the evidence found at the

residence described in the Search Warrant be denied.

B.    The Defendant’s Motion to Suppress Eyewitness Identification.

      1.     Standard of Review. Generally speaking, in cases in which the identity

of the accused is at issue, the accused may move, under the Due Process Clause,7 to

      6
         Even if the information in the Search Warrant was impermissibly stale, we
would be compelled, by the law of this Circuit, to find that the agents’ reliance upon
the Search Warrant was reasonable, because it “was not so facially lacking in probable
cause as to preclude the executing officers’ good faith reliance thereon.” United
States v. McNeil, 184 F.3d 770, 775 (8 th Cir. 1999)(applying Leon good faith
exception to arguably stale Search Warrant), citing United States v. Leon, 468 U.S.
897, 922-23 (1984).
       7
         We recognize that, once a Defendant’s Sixth Amendment right to counsel has
attached, grounds may then exist for a successful challenge to the admissibility of a
lineup identification which was conducted in the absence of counsel. See, United
States v. Wade, 388 U.S. 218 (1967). However, the Supreme Court long ago declared
                                                                        (continued...)

                                       - 22 -
     CASE 0:06-cr-00148-PJS-RLE        Doc. 154    Filed 08/24/06   Page 23 of 29




suppress an out-of-Court identification that was secured by law enforcement officials

through improper means. See, Neil v. Biggers, 409 U.S. 188, 199 (1972). Moreover,

the Due Process challenge will extend to an anticipated in-Court identification if it

was tainted by the erroneous out-of-Court procedures. See, Foster v. California, 394

U.S. 440, 443-44 (1969); United States v. Tucker, 169 F.3d 1115, 1117-18 (8th Cir.

1999); Williams v. Lockhart, 736 F.2d 1264, 1266 (8th Cir. 1984).

      Where, as here, an out-of-Court identification, through the use of an accused’s

photograph, is at issue, our Court of Appeals uses a two-step admissibility analysis

first adopted by the Supreme Court in Manson v. Brathwaite, 432 U.S. 98, 116 (1977).

See,; United States v. Gipson, 383 F.3d 689, 698 (8th Cir. 2004); United States v.

Johnson, 56 F.3d 947, 953 (8th Cir. 1995). First, the Court must determine whether

the challenged photographic identification procedure was “impermissibly suggestive.”

United States v. Gipson, supra at 698; see also, United States v. Johnson, supra at 953;

Manson v. Brathwaite, supra at 116. Then, should it be determined that the proce-


      7
        (...continued)
that, whether pre- or post-Indictment, photographic displays, when conducted without
the presence of the defendant, do not implicate a defendant’s Sixth Amendment rights.
See, United States v. Ash, 413 U.S. 300, 317-21 (1973). Therefore, finding no basis
for the suppression of any of the photographic identifications of Nururdin under the
Sixth Amendment, we limit our analysis to the protections provided by the Due
Process Clause.

                                         - 23 -
     CASE 0:06-cr-00148-PJS-RLE         Doc. 154    Filed 08/24/06   Page 24 of 29




dures were impermissibly suggestive, the Court must determine if the identification

was, nonetheless, reliable. See, Clark v. Caspari, 274 F.3d 507, 511 (8th Cir. 2001);

Thomas v. Bowersox, 208 F.3d 699, 702 (8th Cir. 2000); United States v. Davis, 103

F.3d 660, 669 (8th Cir. 1996), cert. denied, 520 U.S. 1258 (1997) (“Reliability is the

linchpin in determining the admissibility of identification testimony * * *.”)[internal

quotation omitted]; see also, Williams v. Lockhart, supra at 1266 (concluding that not

all suggestive identification procedures violate due process).

      Consequently, the identification evidence will be admissible at Trial unless the

totality of circumstances demonstrates that the impermissibly suggestive procedures

“created a very substantial likelihood of irreparable misidentification.” United States

v. Gipson, supra at 698, citing United States v. Johnson, supra at 953; see also, Palmer

v. Clarke, 408 F.3d 423, 435 (8th Cir. 2005); Clark v. Caspari, supra at 513 (Hansen,

C.J., concurring), quoting Manson v. Brathwaite, supra at 116-17. To determine

reliability, five factors are to be considered: the opportunity of the witnesses to view

the defendant at the relevant time; the witnesses’ degree of attention when viewing the

defendant; the accuracy of the original descriptions given by the witnesses; the level

of certainty in their identifications; and the passage of time between their observations




                                          - 24 -
     CASE 0:06-cr-00148-PJS-RLE       Doc. 154      Filed 08/24/06   Page 25 of 29




of the defendant and the photographic identifications. See, United States v. Gipson,

supra at 698; Manson v. Brathwaite, supra at 114.

      2.     Legal Analysis.    We find, given the totality of the circumstances

presented, that the identifications based upon the photograph presented by Wilson and

Lukovsky should not be suppressed.

      We begin our analysis by noting that the informants were only presented with

one (1) photograph by law enforcement, upon which to identify Nururdin. Since the

informants were not provided an array of photographs, based upon the testimony of

Lukovsky and Wilson, we find that the presentation of a single photograph was

impermissibly suggestive.8 See, United States v. Williams, 340 F.3d 563, 566-67 (8th

Cir. 2003); United States v. Patterson, 20 F.3d 801, 806 (8th Cir. 1994)(“Single-

photograph displays such as the ones employed in the present case are considered

impermissibly suggestive by this court”), citing United States v. Murdock, 928 F.2d

293, 297 (8th Cir. 1991).

      However, “[e]ven if a photographic identification procedure is impermissibly

suggestive, * * * the ‘central question’ regarding eyewitness identification * * * is

      8
        Ordinarily, when presented with this issue, one of the interested parties will
present the photograph, or the photographic array, for our independent review. Here,
they have not, and we assess the “impermissibly suggestive prong” of analysis on the
basis of the Record submitted.

                                        - 25 -
     CASE 0:06-cr-00148-PJS-RLE        Doc. 154    Filed 08/24/06   Page 26 of 29




‘whether, under the totality of the circumstances, the identification was reliable

despite any suggestive or inappropriate pre-trial identification techniques.” Palmer

v. Clarke, supra at 435, quoting Trevino v. Dahm, 2 F.3d 829, 833 (8th Cir. 1993).

      Given the testimony adduced at the Hearing, and the averments made in

Lukovsky’s Affidavit, we have no basis to find that the identifications of the

informants were unreliable. The evidence of Record reflects that Lukovsky showed

the photograph to a confidential informant directly after at least one of the controlled

purchases in March of 2006, and Wilson showed the photograph to a different

informant after the controlled purchase on May 11, 2006. Each of the informants

professed to having an opportunity to view Nururdin, at close range, during the

controlled purchases, which occurred shortly before the identifications made. Further,

all of the informants immediately identified Nururdin as the person depicted in the

photograph, after observing it, and there is no suggestion, in the Record, that the

informants were hesitant in their identification. Given the significant, fresh exposure

which the informants, as eyewitnesses, had to the Defendant as a result of their roles

in the controlled purchases, we find it unlikely that the identifications made would be

unreliable where, as here, the photograph was either a booking photo, or a photograph

secured from the Department of Motor Vehicles.



                                         - 26 -
     CASE 0:06-cr-00148-PJS-RLE       Doc. 154    Filed 08/24/06   Page 27 of 29




      We find that the circumstances here are similar to those before our Court of

Appeals in United States v. Puckett, 147 F.3d 765 (8 th Cir. 1998). In Puckett, the

eyewitness was shown a single photograph of the defendant after a number of

controlled purchases, and asked “whether the person portrayed was the individual who

had conducted the sale.” Id. Our Court of Appeals noted that the procedure “seems

quite suggestive,” but noted that the circumstances surrounding the identification was

deemed reliable, and affirmed the Trial Court’s denial of the defendant’s suppression

Motion. Id. The circumstances included corroborating identifications made by others,

familiarity with the defendant, and multiple controlled purchases made from the

defendant. We find those circumstances to be present here.

      More over, as each informant independently identified Nururdin from the

photograph, we find the likelihood of any misidentification unlikely. See, United

States v. Puckett, supra at 769 (“testimony of other witnesses indicates that a

misidentification was unlikely”); United States v. Rogers, 73 F.3d 774, 778 (8th Cir.

1996)(finding no due process violation in identification of a defendant as “[i]n

addition to [one eyewitness’s] testimony, at least two other government witnesses

identified the [defendant],” and “[t]he additional testimony diminishes any likelihood




                                        - 27 -
     CASE 0:06-cr-00148-PJS-RLE       Doc. 154     Filed 08/24/06   Page 28 of 29




of irreparable misidentification in this case.”); see also, United States v. Webb, 168

F.3d 496, 1999 WL 23160 at *1 (8th Cir. 1999) [Table disposition].

      Here, as testified by Lukovsky, and Wilson, each informant, upon viewing the

photograph, positively and confidently identified Nururdin as the person involved in

the controlled purchase, even going so far as to identify Nururdin by his nicknames

of “P,” or “Cheeseburger.” Accordingly, because there is nothing in the Record to

demonstrate that the challenged identification procedures were unreliable, we

recommend that Nururdin’s Motion to Suppress the photographic identifications be

denied.

      NOW, THEREFORE, It is --

      RECOMMENDED:

      1.     That Motion of the Defendant to Suppress Evidence Obtained from

Search and Seizure [Docket No. 77] be denied.

      2.     That the Motion of the Defendant to Suppress Eyewitness Identification

[Docket No. 79] be denied.


Dated: August 24, 2006                           s/Raymond L. Erickson
                                                 Raymond L. Erickson
                                                 CHIEF U.S. MAGISTRATE JUDGE

                                      NOTICE

                                        - 28 -
     CASE 0:06-cr-00148-PJS-RLE         Doc. 154    Filed 08/24/06      Page 29 of 29




      Pursuant to Rule 45(a), Federal Rules of Criminal Procedure, D. Minn.

LR1.1(f), and D. Minn. LR72.1(c)(2), any party may object to this Report and

Recommendation by filing with the Clerk of Court, and by serving upon all parties by

no later than September 11, 2006, a writing which specifically identifies those

portions of the Report to which objections are made and the bases of those objections.

Failure to comply with this procedure shall operate as a forfeiture of the objecting

party's right to seek review in the Court of Appeals.

      If the consideration of the objections requires a review of a transcript of a

Hearing, then the party making the objections shall timely order and file a complete

transcript of that Hearing by no later than September 11, 2006, unless all interested

parties stipulate that the District Court is not required by Title 28 U.S.C. §636 to

review the transcript in order to resolve all of the objections made.




                                         - 29 -
